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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 RUBY FREEMAN

 and                                                  Civil Action No. 21-3354 (BAH)

 WANDREA MOSS,
                                                      Judge Beryl A. Howell
                         Plaintiffs,

        v.

 RUDOLPH W. GIULIANI,

                         Defendant.




                     PROPOSED PRETRIAL AND TRIAL SCHEDULE

       Pursuant to the Court’s Order of August 30, 2023, granting plaintiffs’ motion for discovery

sanctions, Plaintiffs Ruby Freeman and Wandrea’ ArShaye Moss and Defendant Rudolph Giuliani

(collectively, the “parties”) submit this proposal regarding a schedule governing future

proceedings in this matter, including three proposed dates for trial on damages in the period from

November 2023 to February 2024, and with associated proposed dates for any pretrial motions and

a pretrial conference.

       The parties believe that a trial on damages will last between 3 and 5 days.

       I.       Plaintiffs’ Position

       Plaintiffs’ strong preference is for the trial to take place at the earliest possible date, and in

all events, before the end of 2023. Unfortunately, given counsel and witness schedules, the parties

were able to find only one week in November or December of 2023 in which the parties could be

available.
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          II.    Defendant’s Position

          Defendant’s counsel has a trial setting the week after Thanksgiving making late November

and early December untenable. Defendant’s counsel also has an arbitration setting January 23,

2024.

          III.   Joint Proposal 1 – Trial Starting December 11, 2023.

          The parties propose a trial starting Monday, December 11, 2023, with the below associated

schedule.1

    Event                          Date                    Standing Order Requirement
    Opening Motion(s) in Limine    October 24, 2023        Required at least 21 days before
                                                           pretrial submission
    Opposition to Motion(s) in October 31, 2023            Required at least 14 days before
    Limine                                                 pretrial submission
    Reply to Motion(s) in Limine November 7, 2023          Required at least 7 days before pretrial
                                                           submission
    Pretrial Submission            November 14, 2023       Required at least 14 days before
                                                           pretrial conference
    Trial Brief                  November 20, 2023
    Pretrial Conference          December 4, 2023
    Trial Starts (including voir December 11, 2023
    dire)


          IV.    Joint Proposal 2 – Trial Starting January 8, 2024.

          The parties propose a trial starting Monday, January 8, 2024, with the below associated

schedule.

    Event                          Date                    Standing Order Requirement
    Opening Motion(s) in Limine    October 31, 2023        Required at least 21 days before
                                                           pretrial submission


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  We understand that the Court currently has a trial scheduled for the week of December 11, but
that the dates of this trial may change following a filing on November 1, 2023, and/or following a
mediation between the parties in that case. The parties in this case initially agreed to proposing
December 11 and December 13 as trial start dates, as that is one of the few weeks that work for
the parties, and would be agreeable to either of those start dates in the event that the Court’s
calendar permits.
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 Event                        Date                      Standing Order Requirement
 Opposition to Motion(s) in November 7, 2023            Required at least 14 days before
 Limine                                                 pretrial submission
 Reply to Motion(s) in Limine November 14, 2023         Required at least 7 days before pretrial
                                                        submission
 Pretrial Submission             November 21, 2023      Required at least 14 days before
                                                        pretrial conference
 Trial Brief                  December 11, 2023
 Pretrial Conference          December 15, 2023
 Trial Starts (including voir January 8, 2024
 dire)


       V.       Joint Proposal 3 – Trial Starting February 20, 2024.

       The parties propose a trial starting Tuesday, February 20, 2024, with the below associated

schedule.

 Event                           Date                   Standing Order Requirement
 Opening Motion(s) in Limine     January 5, 2024        Required at least 21 days before
                                                        pretrial submission
 Opposition to Motion(s) in January 12, 2024            Required at least 14 days before
 Limine                                                 pretrial submission
 Reply to Motion(s) in Limine January 19, 2024          Required at least 7 days before pretrial
                                                        submission
 Pretrial Submission             January 26, 2024       Required at least 14 days before
                                                        pretrial conference
 Trial Brief                  January 29, 2024
 Pretrial Conference          February 12, 2024
 Trial Starts (including voir February 20, 2024
 dire)




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DATED: September 20, 2023

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